 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 1 of 9 PageID 1



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                      CASE No.:
MICHAEL R. MCNEIL,

       Plaintiff,
vs.

338 STARR REALTY LLC, and B AND G
ENTERPRISES OF SEMINOLE COUNTY INC.,
d/b/a SUPREME BEANS COFFEE SHOP,

      Defendants.
___________________________________________/

                                          COMPLAINT


       Plaintiff, MICHAEL R. MCNEIL (hereinafter the “Plaintiff”), through undersigned

counsel, hereby files this Complaint and sues 338 STARR REALTY LLC, a New York Limited

Liability Company, and B AND G ENTERPRISES OF SEMINOLE COUNTY INC., a Florida

Corporation, d/b/a SUPREME BEANS COFFEE SHOP, (hereinafter, collectively the

“Defendants”), for injunctive relief, attorney’s fees and costs (including, but not limited to, court

costs and expert fees), pursuant to 42 U.S.C. §12181, et. seq., (“AMERICANS WITH

DISABILITIES ACT” or “ADA”) and alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as the

“ADA”). This Court is vested with jurisdiction under 28 U.S.C. §1331 and §343.

       2.      Venue is proper in this Court, Middle District pursuant to 28 U.S.C. §1391(B) in

that all events giving rise to this lawsuit occurred in Volusia County, Florida.

                                                 1
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 2 of 9 PageID 2



        3.      At the time of Plaintiff’s visit to Defendants’ Subject Facilities, prior to instituting

the instant action, MICHAEL R. MCNEIL (hereinafter referred to as “MCNEIL”), was a resident

of the State of Florida, suffered from what constitutes a “qualified disability” under the Americans

with Disabilities Act of 1990, and used a wheelchair for mobility. Plaintiff has traumatic brain

injury (TBI). He is required to traverse in a wheelchair, and is substantially limited to performing

one or more major life activities including, but not limited to, walking, standing, grabbing,

grasping, and/or pinching.

        4.      The Plaintiff personally visited, in or about October 1, 2019, Defendants’ Subject

Facilities, but was denied full and equal access to, and full and equal enjoyment of, the facilities

services, goods, privileges and accommodations offered within Defendants’ Subject Facilities,

which is the subject of this lawsuit, even though he would be classified as a “bona fide patron”,

because of his disabilities. Plaintiff lives in Volusia County, Florida, in close proximity to

Defendants, (within 1.7 miles) and travels in the surrounding areas near Defendants’ Subject

Facilities on a regular basis.

        5.      The Defendants, 338 STARR REALTY LLC, a New York Limited Liability

Company, and B AND G ENTERPRISES OF SEMINOLE COUNTY INC., a Florida

Corporation, d/b/a SUPREME BEANS COFFEE SHOP, are authorized to conduct, and are

conducting business within the State of Florida.

        6.      Upon information and belief, B AND G ENTERPRISES OF SEMINOLE

COUNTY INC., is the lessee and/or operator of the real property (the “Subject Facility”), and the

owner of the improvements where the Subject Facility is located which is the subject of this action,

the establishment commonly referred to as SUPREME BEANS COFFEE SHOP, located at 927

Beville Road, South Daytona, Florida.



                                                   2
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 3 of 9 PageID 3



       7.      Upon information and belief, 338 STARR REALTY LLC, is the lessor, operator

and/or owner of the real property (the “Subject Facility”), and the owner of the improvements

where the Subject Facilities are located which are the subjects of this action.

       8.      All events giving rise to this lawsuit occurred in the State of Florida. Venue is

proper in this Court as the premises are located in Volusia County in the Middle District, Orlando

Division.

            COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       9.      On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of the Title III of

the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(a).

       10.     Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical or mental
                       disabilities, and this number shall increase as the population
                       continues to grow older;

               (ii)    historically, society has tended to isolate and segregate individuals
                       with disabilities, and, despite some improvements, such forms of
                       discrimination against disabled individuals continue to be a
                       pervasive social problem, requiring serious attention;

               (iii)   discrimination against disabled individuals persists in such critical
                       areas as employment, housing, public accommodations,
                       transportation, communication, recreation, institutionalization,
                       health services, voting and access to public services and public
                       facilities;

               (iv)    individuals with disabilities continually suffer forms of
                       discrimination, including outright intentional exclusion, the
                       discriminatory effects of architectural, transportation, and
                       communication barriers, failure to make modifications to existing
                       facilities and practices. Exclusionary qualification standards and
                       criteria, segregation, and regulation to lesser services, programs,
                       benefits, or other opportunities; and,

                                                 3
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 4 of 9 PageID 4




                 (v)     the continuing existence of unfair and unnecessary discrimination
                         and prejudice denies people with disabilities the opportunity to
                         compete on an equal basis and to pursue those opportunities for
                         which our country is justifiably famous, and costs the United States
                         billions of dollars in unnecessary expenses resulting from
                         dependency and non-productivity.

          42 U.S.C. §12101(a)(1)-(3), (5) and (9).

          11.    Congress explicitly stated that the purpose of the ADA was to:

                 (i)     provide a clear and comprehensive national mandate for the
                         elimination of discrimination against individuals with disabilities;
                 (ii)    provide clear, strong, consistent, enforceable standards addressing
                         discrimination against individuals with disabilities; and,

                 (iii)   invoke the sweep of congressional authority, including the power to
                         enforce the fourteenth amendment and to regulate commerce, in
                         order to address the major areas of discrimination faced day-to-day
                         by people with disabilities.

          42 U.S.C. §12101(b)(1)(2), and (4).

          12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants are places of

public accommodation in that they are establishments which provide goods and services to the

public.

          13.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or

Subject Facility which is the subject of this action is a public accommodation covered by the ADA

and which must be in compliance therewith.

          14.    The Plaintiff is informed and believes, and therefore alleges, that the Subject

Facility has begun operations and/or undergone remodeling, repairs and/or alterations since

January 26, 1990.

          15.    Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others who are similarly situated, by denying full and equal access to, and full and equal



                                                     4
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 5 of 9 PageID 5



enjoyment of, goods, services, facilities, privileges, advantages and/or accommodations at

Defendants’ Subject Facilities in derogation of 42 U.S.C. §12101, et. seq., and as prohibited by 42

U.S.C. §12182 et. seq., and by failing to remove architectural barriers pursuant to 42 U.S.C.

§12182(b)(2)(a)(iv), where such removal is readily achievable.

       16.     The Plaintiff has been unable to, and continues to be unable to, enjoy full and equal

safe access to, and the benefits of, all accommodations and services offered at Defendants’ Subject

Facilities. Prior to the filing of this lawsuit, the Plaintiff visited the subject properties and was

denied full and safe access to all the benefits, accommodations and services of the Defendants.

Prior to the filing of this lawsuit, MCNEIL, personally visited 338 STARR REALTY LLC, a New

York Limited Liability Company, and B AND G ENTERPRISES OF SEMINOLE COUNTY

INC., a Florida Corporation, d/b/a SUPREME BEANS COFFEE SHOP, with the intention of

using Defendants’ facilities, but was denied full and safe access to the facilities, and therefore

suffered an injury in fact. As stated herein, the Plaintiff has visited the Subject Facilities in the

past, prior to the filing of this lawsuit, resides near said Subject Facility, and Plaintiff intends to

return to the Subject Facility and Property within six months, or sooner, upon the Subject Facility

being made accessible. As such, Plaintiff is likely to be subjected to continuing discrimination at

the Subject Facility unless it is made readily accessible to and usable by individuals with

disabilities to the extent required under the ADA, including the removal of the architectural barrier

which remain at the Subject Facility.

       17.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA, known as the Americans with Disabilities Act Accessibility Guidelines




                                                  5
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 6 of 9 PageID 6



(hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said Department may obtain civil

penalties of up to $110,000 for the first violation and $150,000 for any subsequent violation.

       18.      The Defendants’ Subject Facilities are in violation of 42 U.S.C. §12182 et. seq., the

ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the Plaintiff, as a result of

interalia, the following specific violations:

       VIOLATIONS

             a) Failure to provide ADA compliant accessible parking spaces and access aisles on a

                firm, stable, slip resistant surface, at several parking locations throughout the

                subject property, in violation of 2014 FAC and 2010 ADAS Section 502.4 and

                302.1.

             b) Failure to provide ADA compliant accessible parking stalls, at several parking

                locations throughout the subject property, in violation of 2014 FAC and 2010

                ADAS Section 208.2.

             c) Failure to provide ADA compliant parking slope gradings, at several parking

                locations throughout the subject property, in violation of 2014 FAC and 2010

                ADAS Section 502.4.

             d) Failure to provide ADA compliant parking stall signage, at several parking

                locations throughout the subject property, in violation of 2014 FAC Section

                502.6.1.

             e) Failure to provide ADA compliant number of exterior table seating, in violation of

                2014 FAC and 2010 ADAS Section 227.3.

             f) Failure to provide ADA compliant exterior table clearances, in violation of 2014

                FAC and 2010 ADAS Section 306.1.



                                                  6
Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 7 of 9 PageID 7



       g) Failure to provide ADA compliant door mat, in violation of 2014 FAC and 2010

          ADAS Section 302.2.

       h) Failure to provide ADA compliant counter height, in violation of 2014 FAC and

          2010 ADAS Section 904.4.1.

       i) Failure to provide ADA compliant merchandise reach range, in violation of 2014

          FAC and 2010 ADAS Section 308.1.

       j) Failure to provide ADA compliant number of interior table seating, in violation of

          2014 FAC and 2010 ADAS Section 227.3.

       k) Failure to provide ADA compliant interior table clearances, in violation of 2014

          FAC and 2010 ADAS Section 306.1.

       l) Failure to provide ADA compliant directional signage to accessible restroom, in

          violation of 2014 FAC and 2010 ADAS Section 216.8.

       m) Failure to provide ADA compliant restroom door locking mechanism, that does not

          require use of a “key” requiring grasping, pinching and/twisting of the wrist, in

          violation of 2014 FAC and 2010 ADAS Section 309.4.

       n) Failure to provide ADA compliant restroom door hardware, in violation of 2014

          FAC and 2010 ADAS Section 309.4.

       o) Failure to provide ADA compliant mirror height, in violation of 2014 FAC and

          2010 ADAS Section 603.3.

       p) Failure to provide ADA compliant toilet paper dispenser location, in violation of

          2014 FAC and 2010 ADAS Section 604.7.

       q) Failure to provide ADA compliant toilet rear grab bar length, in violation of 2014

          FAC and 2010 ADAS Section 609.4.



                                           7
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 8 of 9 PageID 8



             r) Failure to provide ADA compliant toilet side grab bar length, in violation of 2014

                FAC and 2010 ADAS Section 609.4.

             s) Failure to provide ADA compliant restroom maneuverability clearance, in violation

                of 2014 FAC and 2010 ADAS Section 604.3.2.

       19.      Upon information and belief, there are other current violations of the ADA at

Defendants’ Properties, and only once a full inspection is done can all said violations be identified.

       20.      To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA. The barriers to access at the Subject Facilities, as described above, have

severely diminished Plaintiff’s ability to avail himself of the goods and services offered at the

Subject Facilities, and compromise his safety.

       21.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facility, a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants have failed

to comply with this mandate.

       22.      The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs and

expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.

       23.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA and

closing the subject facility until the requisite modifications are completed.




                                                  8
 Case 6:20-cv-00140-CEM-GJK Document 1 Filed 01/28/20 Page 9 of 9 PageID 9



       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants and the

Court declare that the subject property and Subject Facilities owned, operated, leased, controlled

and/or administered by the Defendants are violative of the ADA;

       A.      The Court enter an Order requiring the Defendants to alter their facilities and

               amenities to make them accessible to and usable by individuals with disabilities to

               the full extent required by Title III of the ADA;

       B.      The Court enter an Order directing the Defendants to evaluate and neutralize their

               policies, practices and procedures toward persons with disabilities, for such

               reasonable time so as to allow the Defendants to undertake and complete corrective

               procedures to the Subject Facility;

       C.      The Court award reasonable attorney’s fees, all costs (including, but not limited to

               court costs and expert fees) and other expenses of suit, to the Plaintiff; and

       D.      The Court award such other and further relief as it deems necessary, just and proper.



       Dated: This 28th day of January 2020.

                                                      Respectfully submitted,

                                                      By: /S/Joe M. Quick, Esq._________
                                                      Joe M. Quick, Esq.
                                                      Bar Number 0883794
                                                      Attorney for Plaintiff
                                                      Law Offices of Joe M. Quick, Esq.
                                                      1224 S. Peninsula Drive #619
                                                      Daytona Beach, Florida 32118
                                                      Telephone: 386.212.3591
                                                      Email: JMQuickEsq@gmail.com




                                                 9
